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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                              Case Nos. 1:18-cv-00391-BLW
        Respondent,                                     1:16-cr-00228-BLW

         v.                                   MEMORANDUM DECISION
                                              AND ORDER
  JESSE DANIEL TRUESDALE,

        Movant.



                                INTRODUCTION

      In August 2017, this Court sentenced Jesse Truesdale to 96 months’

imprisonment. Truesdale seeks to amend, vacate, or set aside his sentence under 28

U.S.C. § 2255. Truesdale says his counsel was ineffective during the sentencing

hearing because he did not ask the Court to order that his federal sentence be

served concurrently with a previously imposed state sentence. He also suggests his

plea was unknowing and involuntary because he was not advised his federal

sentence could be imposed to run consecutively with his anticipated state sentence.

For the reasons explained below, the Court will grant the motion.

                                 BACKGROUND
      In September 2016, a grand jury indicted Truesdale on two charges: (1)

unlawful possession of a firearm; and (2) possession with intent to distribute


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methamphetamine. He pleaded guilty to both charges, and in August 2017 this

Court sentenced him to 96 months’ imprisonment on each count, followed by three

years and five years of supervised release on each count. Both the terms of

imprisonment and the terms of supervised release were to run concurrently.

      By the time the Court sentenced Truesdale, an Idaho state court had revoked

his probation on two earlier convictions – a 2004 conviction for aiding and abetting

a burglary and a 2012 conviction for possession of a controlled substance. The

same conduct that formed the basis of his federal charges triggered revocation

proceedings on those two convictions. The details regarding these state charges are

as follows:

1. The 2004 Burglary Conviction

      In June 2004, Truesdale pleaded guilty to aiding and abetting a burglary.

The Presentence Investigation Report (PSR) in this case indicates that Truesdale

and two other individuals entered a veterinary clinic and stole “veterinary drugs,

and/or controlled substances, and/or cash of a value in excess of $1,000.” PSR, Cr.

Dkt. 33, at 8. The Idaho state court sentenced him to six years’ custody

(suspended) and five years’ probation. Truesdale violated probation several times,

and shortly before this Court sentenced Truesdale, the state court refused to parole

him. At the time of his federal sentencing, Truesdale’s sentence satisfaction date

on the burglary charge was January 15, 2018. Id.


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2. The 2012 Drug Possession Conviction

      In 2012, Truesdale was convicted of possessing a controlled substance with

intent to deliver. The conduct underlying the drug possession charge triggered

revocation proceedings on the 2004 burglary charge. The state court revoked

probation in the burglary case and sentenced him to six years’ custody, with three

years fixed. Otherwise, on the drug possession charge, Truesdale was sentenced to

nine years’ custody with two and one-half years fixed. His sentence satisfaction

date on this charge is April 25, 2021. See id. at 9. He was paroled on April 27,

2015. Id.

3. The 2016 Federal Charge

      On July 13, 2016 – less than a year after he was paroled on the 2012 state

drug charge – Truesdale was arrested and charged with the two federal offenses

mentioned above – unlawful possession of a firearm and possession with intent to

distribute methamphetamine. Truesdale’s conduct in this case had a ripple effect:

not only was he indicted on federal charges, but he was charged with violating

probation on the two state charges.

      Truesdale says his counsel advised him to take care of his state charges

before facing sentencing in federal court. And that is what he did, although he

pleaded guilty in federal court before his state-court revocation hearing. During his

change-of-plea hearing in federal court, the magistrate judge asked Truesdale’s


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counsel about any pending state charges:

      THE COURT:          And, Mr. Merris, are there any state charges
                          pending against Mr. Truesdale for which he’s
                          not been sentenced?

      MR. MERRIS:         No, Your Honor.

Plea Hg. Tr., Civ. Dkt. 7-1, at 12:13-16. Counsel’s response was technically

correct – Truesdale had already been sentenced on the state burglary and drug

charges – but counsel did not let the Court know Truesdale had pending state-court

revocation charges.

      After the change-of-plea hearing in federal court and before federal

sentencing, Truesdale had a telephonic state-court revocation hearing. The state

parole commission asked Truesdale what he expected at his federal sentencing:

      The Commission asked what he [Truesdale] expects from his
      Federal sentencing and he said at this point he doesn’t expect
      anything but what is fair. He was found guilty and his rights have
      been revoked. He hopes that it will run concurrent with what he is
      doing for the state of Idaho.

Cr. Dkt. 53-1, at 8 (emphasis added). After a brief, telephonic hearing, the

Commission elected to “deny parole and pass subject to their full term release

date.” Id.

      Later, at the federal sentencing hearing, the Court did not specifically

address Truesdale’s request that the Court order his federal sentence to be served

concurrently with his state sentence. Truesdale requested a concurrent sentence in


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his sentencing memorandum, but counsel did not raise the issue during the

sentencing hearing, and the Court did not independently address the issue. The

Court imposed its 96-month sentence without mentioning the state-court sentence.

       Truesdale says his counsel rendered ineffective assistance by failing to

follow up at oral argument and reiterate the request that his federal sentence be

served concurrently with his state-court sentence. He also suggests he wouldn’t

have pleaded guilty in federal court if he had known his federal sentence would

not run concurrently with his yet-to-be-imposed state sentence.1 Finally, he says

the State of Idaho has assumed he will receive credit against his federal sentence

for the time he is spending in state custody. As of this date, Truesdale remains in

state custody.

       Truesdale’s attorney had understood – incorrectly – that Truesdale would

immediately begin serving his federal sentence after this Court sentenced him,

given counsel’s understanding that “the federal authorities were the prime custody

holders” for Truesdale. Apr. 27, 2018 Letter from J.D. Merris to Truesdale, Ex. C

to 2255 Motion, Dkt. 1-1, at 1. Later, however, counsel learned this was not the

case. He then advised Truesdale to apply for state parole as soon as possible or to




       1
         Truesdale pleaded guilty on August 2, 2017. Crim. Dkt. 28. The state court revoked
probation on August 9, 2017. Civ. Dkt. 1-1 (Exhibit B to § 2255 motion). This Court sentenced
Truesdale on August 17, 2017. Crim. Dkt. 45.

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perhaps “contact the ACLU to see if they might convince Judge Winmill to amend

your sentence.” Id.

                               LEGAL STANDARD

1.    28 U.S.C. § 2255

      Title 28 U.S.C. § 2255 provides four grounds under which a federal court

may grant relief to a federal prisoner who challenges the imposition or length of

her or her incarceration: (1) “that the sentence was imposed in violation of the

Constitution or laws of the United States;” (2) “that the court was without

jurisdiction to impose such sentence;” (3) “that the sentence was in excess of the

maximum authorized by law;” and (4) that the sentence is otherwise “subject to

collateral attack.” 28 U.S.C. § 2255(a).

      Rule 4(b) of the Rules Governing § 2255 Proceedings provides that a federal

district court judge must dismiss a § 2255 motion “[i]f it plainly appears from the

motion, any attached exhibits, and the record of prior proceedings that the moving

party is not entitled to relief.” “Under this standard, a district court may summarily

dismiss a § 2255 motion only if the allegations in the motion, when viewed against

the record, do not give rise to a claim for relief or are ‘palpably incredible or

patently frivolous.’” United States v. Withers, 638 F.3d 1055, 1062-63 (9th Cir.

2011) (citation omitted).

      If the Court does not dismiss pursuant to Rule 4(b), the Court shall order the


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Government “to file an answer, motion, or other response within a fixed time, or to

take other action the judge may order.”

      The Court may dismiss a § 2255 motion at other stages of the proceeding

such as pursuant to a motion by respondent, after consideration of the answer and

motion, or after consideration of the pleadings and an expanded record. See

Advisory Committee Notes following Rule 8 of the Rules Governing Section 2254

Proceedings incorporated by reference into the Advisory Committee Notes

following Rule 8 of the Rules Governing Section 2255 Proceedings.

      If the Court does not dismiss the proceeding, the Court then determines

under Rule 8 whether an evidentiary hearing is required. The Court need not hold

an evidentiary hearing if the issues can be conclusively decided on the basis of the

evidence in the record. See Frazier v. United States, 18 F.3d 778, 781 (9th Cir.

1994). In determining whether a § 2255 motion requires a hearing, “[t]he standard

essentially is whether the movant has made specific factual allegations that, if true,

state a claim on which relief could be granted.” Withers, 638 F.3d at 1062.

2.    Ineffective Assistance of Counsel

      The well-established two-prong test for evaluating ineffective assistance of

counsel claims is deficient performance and resulting prejudice. See Strickland v.

Washington, 466 U.S. 668 (1984). There is a strong presumption that counsel’s

performance falls “within the wide range of reasonable professional


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assistance.” Id. at 689. Both prongs of the Strickland test must be met “before it

can be said that a conviction (or sentence) ‘resulted from a breakdown in the

adversary process that render[ed] the result [of the proceeding] unreliable’ and thus

in violation of the Sixth Amendment.” United States v. Thomas, 417 F.3d 1053,

1056 (9th Cir.2005) (quoting Strickland, 466 U.S. at 687)

                                     ANALYSIS

   1.      Counsel’s Failure to Raise the Concurrent Sentence Request at the
           Sentencing Hearing

        The Court will discuss these issues in reverse order – first discussing

prejudice, then deficient performance.

        Truesdale has demonstrated prejudice. If counsel had raised the issue at any

point during the sentencing hearing, it is likely that the Court would have imposed

a partially concurrent/partially consecutive sentence. The Court often, in these

circumstances, orders a partially concurrent/partially consecutive sentence. By

imposing such a sentence, the Court seeks to incentivize (1) the parole commission

to grant parole at the earliest possible date and (2) the defendant to behave while

in state custody so as to earn that parole and end his or her time in state custody.

More specifically, in this case, if counsel had raised the issue, the Court likely

would have ordered Truesdale’s 96-month sentence to be served consecutively to

the fixed portion of his state sentence and concurrently to the indeterminate portion

of the sentence. Even if there were aggravating circumstances which the

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Government could have used to argue for a consecutive sentence, Mr. Truesdale

was denied the opportunity to challenge that argument and request that the Court

follow its normal practice of imposing a concurrent or partially concurrent

sentence.2

       As matters stand, however, Truesdale remains in state custody and he has

not received any credit against his federal sentence. This was not the Court’s intent

at sentencing; if counsel had raised the issue, the Court would have clarified this

point. Under these circumstances, the Court easily finds that Truesdale has

demonstrated prejudice. If his counsel had performed differently, the outcome is

likely to have been different.

       The more difficult issue is concluding that Truesdale’s counsel performed

deficiently. Arguably, Truesdale’s counsel discharged his duty to request a

concurrent sentence by bringing that issue to the Court’s attention in his sentencing

memorandum. The sentencing memorandum did contain a single oblique reference

to the state proceedings:

       Mr. Truesdale requests the Court to make his federal sentence
       concurrent with his state sentences in Idaho’s Canyon County Cases


       2
         At a minimum, I am confident that I would have at least addressed the issue of whether
the sentence should be concurrent or consecutive, rather than have the sentence run consecutive
by default. In more than 30 years on the bench, I have never knowingly failed to address the
issue of concurrent vs. consecutive in imposing a sentence on a defendant with an undischarged
term of incarceration. Simply put, this was my mistake, aided by the failures of the probation
office and defense counsel.

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      CR2004-2644 and CR2012-2083.

Crim. Dkt. 42, at 6. Notably, it did not alert the Court that the probation revocation

proceedings referred to in the presentence report had been concluded and Mr.

Truesdale had already been sentenced to a term of imprisonment. Then when the

Court did not mention this issue during the sentencing hearing, defense counsel

should have spoken up. Counsel had ample opportunity to raise the point. Prior to

the imposition of sentence, he argued for an 84-month sentence and asked that the

Court recommend that Mr. Truesdale be allowed to participate in the RDAP drug

treatment court while incarcerated. Notably, he never updated the Court on the

status of the state proceedings and never asked the Court to run the sentence

concurrent with the state sentence. But, even after the Court imposed sentence,

counsel had another chance to (1) ask the Court to clarify if the sentence was

consecutive or concurrent and (2) ask the Court to explain its reasoning. See

Hearing Tr., Dkt. 18:21-22.

      Granted, defense counsel is not the only one person in the room who should

have raised the issue. The Court mistakenly overlooked this issue in imposing

sentence. The presentence report was deficient in that it indicated that two

probation violations were pending, but was never updated to reflect that, by the

time of his federal sentencing, Mr. Truesdale had already been sentenced on those

violations. Then the probation officer, when asked at the conclusion of the


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sentencing if the Court had overlooked anything, failed to raise the issue. In other

words, there are redundancies in the Court’s typical practices during sentencing

hearings to prevent exactly the failure that occurred here. This is the rare case

when all these checks failed.

      But the larger point is that defendants rely on their attorneys to prevent this

sort of failure. Plus, it is error for a district court to impose a consecutive sentence

without adequately explaining its reasons. See United States v. Conkin, 9 F.3d

1377 (9th Cir. 2005) (“The district court’s failure to expressly state in open court

with adequate specificity the reasons for its sentencing decision [specifically

regarding the decision to impose a consecutive sentence], violates 18 U.S.C. §

3553(c).”). Given that, counsel surely should have spoken up, and his failure to do

so resulted in deficient performance under Strickland. The Court will therefore

grant Truesdale’s motion.

      When a court grants a motion to vacate, set aside, or correct a sentence

under 28 U.S.C. § 2255, the statute provides that the court “shall vacate and set the

judgment aside and shall discharge the prisoner or resentence him or grant a new

trial or correct the sentence as may appear appropriate.” 28 U.S.C. § 2255(b). The

statute thus establishes a two-step process. First, the court must “vacate and set the

judgment aside.” Id. Second, the court must choose from among four distinct

remedies: (1) discharge the prisoner; (2) resentence the prisoner; (3) grant the


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prisoner a new trial; or (4) correct the prisoner’s sentence. Id.

        Here, Mr. Truesdale does not ask for an entirely new sentencing hearing.

Rather, he asks the Court to clarify its intent regarding a concurrent sentence. See

2255 Mtn., Civ. Dkt. 1, at 7 (“Give me something in black and white stating for the

record that it is the court’s wish for my Federal sentence to run concurrent with my

Idaho state sentence as I was allowed to think it was and Idaho has assumed it

was”). The Court will not, however, simply order that the sentence be amended to

impose a partially concurrent/partially consecutive sentence since doing so would

deprive the Government of its right to argue that the sentence should be

consecutive. The Government did not raise the issue at the time of sentencing and,

like everyone in the courtroom, except for Mr. Truesdale and his attorney, was

likely unaware that Mr. Truesdale had already been sentenced on his probation

violations. Accordingly, the Court will vacate the judgment and conduct a new

sentencing hearing.

   2.      Voluntariness of Guilty Plea

        Finally, the Court will address Truesdale’s suggestion that his plea was

unknowing and involuntary. He puts it this way:

        All I am stating it was my understanding that as part of my plea in
        federal court, the court would indicate on my judgment and on the
        record that it would allow my federal sentence to run concurrent with
        my state sentence and to the Bureau of Prisons. Nevertheless the State
        of Idaho has ran my sentence concurrent with my Federal sentence,
        but I am not currently in federal prison. My attorney failed to address
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      this issue and therefore the plea proceedings are in question as well.

§ 2255 Motion, Dkt. 1, ¶ 13 at 6 (emphasis added).

      The Court has reviewed the plea hearing transcript, and there is nothing on

the record indicating Truesdale was advised his federal sentence would run

concurrently with any state sentence. Given this record, Truesdale’s best argument

is that his plea was unknowing and involuntary because he was not advised, before

pleading, of the possibility that his federal sentence could run consecutively to his

yet-to-be-imposed state sentence. That argument fails.

      The Fifth Amendment requires that a defendant’s guilty plea be knowing,

voluntary, and intelligent. See, e.g., United States v. Seng Chen Young, 926 F.3d

582, 589 (9th Cir. 2019) (citing Boykin v. Alabama, 395 U.S. 238, 242 (1969));

Fed. R. Crim. P. 11. To enter such a plea, the defendant must have “a full

understanding of what the plea connotes and of its consequence.” Boykin v.

Alabama, 395 U.S. 238, 244 (1969).

      The Ninth Circuit has held that criminal defendants must be advised of

direct consequences of a plea, but not collateral consequences. See, e.g., United

States v. Kikuyama, 109 F.3d 536, 537 (9th Cir. 1997). In the case of potential

consecutive sentences, if a district court has no discretion to impose a concurrent

sentence, then a consecutive sentence is a direct consequence, and the defendant

must be advised of this before pleading. But if the district court has discretion – to


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either impose a concurrent or consecutive sentence – then the possibility of a

consecutive sentence is a collateral consequence, and even if a district court fails to

warn of a possible consecutive sentence, this does not render the plea involuntary.

See id. (“Whether Kikuyama’s consecutive sentence was a ‘direct consequence’ as

opposed to a merely ‘collateral’ consequence turns on whether the district court

had discretion to impose a concurrent sentence.”).

      So the question here is whether the district court had discretion to impose a

concurrent sentence at the time Truesdale pleaded guilty. It did. Recall, when

Truesdale pleaded guilty in federal court, the state court had not yet sentenced him.

Consequently, the question is whether the district court has discretion to impose a

concurrent sentence on a yet-to-be-imposed state-court sentence. Alternatively, the

Court also needs to consider the sequence that actually occurred – that the state

court would sentence Truesdale after he pleaded guilty in federal court, but before

the federal court imposed sentence. Either way, the federal court had discretion to

impose a concurrent or a consecutive sentence. See Setser v. United States, 566

U.S. 231, 236-37 (2012) (holding that it was within the district court’s discretion to

order that Setser’s sentence run consecutively to his anticipated state sentence).

Accordingly, although the judge who took the plea did not advise Truesdale of the

possibility of a consecutive sentence, this did not render Truesdale’s plea

unknowing, involuntary, or unintelligent.


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                                     ORDER

      IT IS ORDERED that:

      1.    Jesse Daniel Truesdale’s Motion to Vacate, Set Aside, or Correct

Sentence Pursuant to 28 U.S.C. § 2255 (Civ. Dkt. 1 and Crim. Dkt. 53) is

GRANTED.

      2.    The Court will vacate the judgment in the criminal case and order that

Mr. Truesdale be re-sentenced.

      3.    The Clerk is directed to appoint counsel for Mr. Truesdale.

                                            DATED: April 15, 2020


                                            _________________________
                                            B. Lynn Winmill
                                            U.S. District Court Judge




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